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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-10-513 (2-3)
                                                  §
MONTRACE PIER                                     §
ANRAY DERSHAN ADKINS                              §
                                                  §

                                                ORDER

       Defendant Adkins filed an unopposed motion for continuance, (Docket Entry No. 102). The

government and codefendant Pier are unopposed to the motion. The court finds that the interests

of justice are served by granting this continuance and that those interests outweigh the interests of

the public and the defendants in a speedy trial. The motion for continuance is GRANTED. The

docket control order is amended as follows:

       Motions are to be filed by:                     September 12, 2011
       Responses are to be filed by:                   September 26, 2011
       Pretrial conference is reset to:                October 3, 2011 at 8:45 a.m.
       Jury trial and selection are reset to:          October 11, 2011 at 9:00 a.m.


               SIGNED on July 27, 2011, at Houston, Texas.


                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
